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                                                                       20TH JUDICIAL DISTRICT COURT
                                                                        BOSaiER PARISH. LOUISIANA


                                                 FILED AMD nEco-ir:*:                    1 5 3 8 3S
              CHARLES A. RASCO                    GCSSic.'' PA"!Cffyiy?PER:

              VERSUS                            ^317 i:uG 6 2 pn24™3fjrDICIAL district court
              MARGARITAVILLE RESORT C^^O,,,.
              D/B/A BOSSIER CASINO VENTIM^,-j^C.,.'' '                                                        C".-
              BENLNU,DELORESLNUAND(y"""i;_iv:^.._; ""
              YOLANDRA GREEN                                        BOSSIER PARISH,LOUISIANA

                                               PETITION FOR DAMAGES


                     NOW INTO COURT,through undersigned counsel, comes and appears CHARLES

              RASCO,(hereinafter referred to as CHARLES RASCO or PETITIONER)a person ofthe full

              age of majority and resident of Shreveport, Caddo Parish, Louisiana, who respectfully represents:

                                                               1.


                     Made defendants in this action are Bossier Casino Venture, Inc., d/b/a

              MARGARITAVILLE, located at 777 Margaritaviile way, Bossier City, Louisiana 71111, Ben

              Last Name, Unknown,employee of Margaritaviile Resort Casino, Delores Last Name Unknown,
              employee ofMargaritaville Resort Casino, and Yolandra Green, employee of Margaritaviile
              Resort Casino. Petitioner reserves the right to amend and supplement the names ofthe

              defendant's labeled in the foregoing petition as the Infoimation is obtained.

                                                               2.



                     Petitioner shows that on or about the M"* day of May,2017, he was gambling at the
              casino, playing a game known as Mississippi Stud.

                                                               3.



                      Mr. Rasco is an Afiican American male who has reached the status of a high level player
              at the Margaritaviile Resort Casino.
                                                               4.

                   Petitioner shows that during the course of his gambling that the dealer repeatedly turned
              over his cards, after being requested not to, and did not turn over any ofthe other players cards,

              particularly the white people.


                                                               5.

                      Petitioner shows that the whole time that he gambled during the morning houre that he
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